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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA

                            Alexandria Division



 VERISIGN, INC.,

       Plaintiff,

 V.                                   Civil Action No. 1:14-cv-01749

 XYZ.COM, LLC and
 DANIEL NEGARI,

       Defendants.



                                    Order


       THIS MATTER comes before the Court on Defendants' Motion

  for Attorney Fees, Defendants' Motion for an Extension of Time
  to File Bill of Costs, and Plaintiff's Motion to Strike
  Defendants' Bill of Costs as Untimely.

        Verisign, Inc. ("Plaintiff") is a global business that
  provides internet domain names and internet security. XYZ.com,
  LLC and CEO Daniel Negari ("Defendants") are relative newcomers

  to the domain name industry. In December 2014, Plaintiff filed a
  federal lawsuit against Defendants, alleging a violation of the
  Lanham Act for false advertising. On November 20, 2015, this
  Court granted summary judgment to Defendants. The deadline for
  filing the bill of costs was December 1, 2015. Defendants, who
  expected a Rule 58(b) judgment to be entered by the clerk along
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